                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

RICKY MATLOCK and BRIDGET
MATLOCK,
                                                           Case No. 3:18-cv-00047
      Plaintiffs,                                          Judge William L. Campbell, Jr.
                                                           Magistrate Judge Newbern
v.

ROUNDPOINT MORTGAGE SERVICING
CORPORATION, EMBRACE HOME LOANS,
INC., and LOANCARE, LLC,

      Defendants.


           LOANCARE, LLC’S MOTION FOR LEAVE TO FILE UNDER SEAL

         COMES NOW, LoanCare, LLC (“LoanCare”), and pursuant to LR 5.03, hereby moves

this Court for leave to file under seal. Specifically, LoanCare is seeking to file its Response to

the Plaintiffs’ Statement of Additional Material Facts under seal. Specifically, the following

additional facts contain quotes from material designated as confidential by Defendants

RoundPoint Mortgage Servicing Corporation and Embrace Home Loans, Inc.: 31, 32, 35, 37, 45,

56, and 60.

         LR 5.03(b) provides that it shall be the burden of RoundPoint and Embrace (as the parties

designating the material as confidential), and not LoanCare, to show whether the confidential

material meets the requirements for filing under seal. Further, pursuant to LR 5.03(c), LoanCare

is also filing a redacted copy of its Response to the Plaintiffs’ Statement of Additional Material

Facts.




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       WHEREFORE, LoanCare prays for relief as follows:

       a) That, upon a proper showing by RoundPoint and Embrace pursuant to LR 5.03(a)-(b),

           this Court allow LoanCare’s Response to the Plaintiffs’ Statement of Additional

           Material Facts to be filed under seal; and

       b) For any other relief that this Court deems just and proper.

       Respectfully submitted, this 30th day of August 2019.

                                                        /s/ Bret J. Chaness
                                                        BRET J. CHANESS (BPR # 31643)
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                                                        Attorney for LoanCare, LLC


                                CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2019, I filed the within and foregoing document via

the Court’s CM/ECF system. Filing via the Court’s CM/ECF system caused service of the

aforementioned documents to be made electronically on the following attorneys for the Parties

on this day: (1) Henry Todd, Jr., (2) Patrick M. Barrett, III; (3) Joseph V. Ronderos, Jr.; and (4)

Shaun K. Ramey.

                                                        /s/ Bret J. Chaness
                                                        BRET J. CHANESS (BPR # 31643)




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